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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

LEVI STRAUSS & CO.,
Plaintiff,
v.
A&Z BABY STORE, et al.,

Defendants.

 

 

EASTERN DIVISION

Case No. 18-cv-05866
Judge Charles P. Kocoras

Magistrate Judge Sidney I. Schenkier

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 18, 2018 [55], in

favor of Plaintiff Levi Strauss & Co. (“LS&Co.”) and against the Defendants Identified in

Schedule A in the amount of two million dollars ($2,000,000) per Defaulting Defendant for

willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of

products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of

an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

 

 

 

Defendant Name Line Nos.
Globalmarket 136
nanzhujue 154

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
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Dated this 7th day of June 2019.

Respectfully submitted

AeA

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Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 7th day of June 2019.

Given under by hand and notarial seal.

  
 

CAITLIN SCHLIE

Official Seal «tino
Notary Public - State of Hino

My Commission Expires Nov 20, 2021

 

 

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Notary Public

State of Illinois
County of Cook
